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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


          Everett McKinley Dirksen
                                                                            Office of the Clerk
          United States Courthouse
                                                                           Phone: (312) 435-5850
       Room 2722 - 219 S. Dearborn Street
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            Chicago, Illinois 60604




                                        NOTICE OF ISSUANCE OF MANDATE
 October 4, 2022


  To: Roger A. G. Sharpe
      UNITED STATES DISTRICT COURT
      Southern District of Indiana
      United States Courthouse
      Indianapolis, IN 46204-0000
                                       TONCA WATTERS and TERENCE WATTERS,
                                              Plaintiffs - Appellants

                                       v.
  No. 19-3499

                                       HOMEOWNERS ASSOCIATION AT THE PRESERVE AT
                                       BRIDGEWATER, et al.,
                                               Defendants - Appellees
  Originating Case Information:
  District Court No: 1:18-cv-00270-MPB-JMS
  Southern District of Indiana, Indianapolis Division
  Magistrate Judge Matthew P. Brookman


 Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
 certified copy of the opinion/order of the court and judgment, if any, and any direction as to
 costs shall constitute the mandate.

  RECORD ON APPEAL STATUS:                                      No record to be returned



  form name: c7_Mandate       (form ID: 135)
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    Case: 19-3499    Document: 00714077116      Filed: 10/04/2022  Pages: 1    (2 of 25)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


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                                             FINAL JUDGMENT
 September 12, 2022
                                                   Before

                                   FRANK H. EASTERBROOK, Circuit Judge
                                   AMY J. ST. EVE, Circuit Judge
                                   CANDACE JACKSON-AKIWUMI, Circuit Judge


                                     TONCA WATTERS and TERENCE WATTERS,
                                            Plaintiffs - Appellants

                                     v.
  No. 19-3499

                                     HOMEOWNERS ASSOCIATION AT THE PRESERVE AT
                                     BRIDGEWATER, KATHRYN MAMARIL, and EDWARD MAMARIL,
                                             Defendants - Appellees
  Originating Case Information:
  District Court No: 1:18-cv-00270-MPB-JMS
  Southern District of Indiana, Indianapolis Division
  Magistrate Judge Matthew P. Brookman
         The Watters have presented sufficient evidence to try their claims against the Mamarils
 under the FHA and § 1982 before a jury. They do not, however, provide any evidence directly
 linking the Mamarils’ actions to the HOA as a whole, nor do they provide any evidence to
 support their failure to accommodate claim. We, therefore, AFFIRM the district court judgment
 as to the HOA and almost all of the individual defendants, but VACATE the judgment as to
 the Mamarils on the FHA and § 1982 claims, and REMAND for further proceedings consistent
 with the opinion.

         The above is in accordance with the decision of this court entered on this date. Each side
 to bear their own costs.




                                                                 Clerk of Court
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                                            In the

                  United States Court of Appeals
                               For the Seventh Circuit
                                  ____________________
             No. 19-3499
             TONCA WATTERS and TERENCE WATTERS,
                                                           Plaintiffs-Appellants,
                                              v.

             THE HOMEOWNERS’ ASSOCIATION AT THE PRESERVE AT
             BRIDGEWATER, KATHRYN MAMARIL, and EDWARD MAMARIL,
                                                Defendants-Appellees.
                                  ____________________

                            Appeal from the United States District Court
                     for the Southern District of Indiana, Indianapolis Division.
              No. 1:18-cv-00270-MPB-JMS — Matthew P. Brookman, Magistrate Judge.
                                  ____________________

                  ARGUED JUNE 2, 2022 — DECIDED SEPTEMBER 12, 2022
                               ____________________

                 Before EASTERBROOK, ST. EVE, and JACKSON-AKIWUMI, Cir-
             cuit Judges.
                 JACKSON-AKIWUMI, Circuit Judge. Tonca and Terence Wat-
             ters, a married black couple, chose to build their dream home
             in the Preserve at Bridgewater, a subdivision of Kokomo, In-
             diana. What they found were neighbors who made it clear
             from the beginning that they did not want the Watters to live
             there. The Watters sued the Homeowners’ Association and
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             several of its members, including the former and current pres-
             ident of the HOA, Kathryn and Edward Mamaril, for race dis-
             crimination and failure to accommodate Terence’s post-trau-
             matic stress disorder under the Fair Housing Act and 42
             U.S.C. § 1982. The district court granted summary judgment
             in favor of all defendants on all counts. We now vacate the
             court’s judgment as to the Fair Housing Act and 42 U.S.C.
             § 1982 claims against the Mamarils, but otherwise affirm.
                                            I
                We summarize the facts based on the record, drawing all
             reasonable factual inferences in the light most favorable to the
             Watters as the party that did not move for summary judg-
             ment. See Greengrass v. Int’l Monetary Sys. Ltd., 776 F.3d 481,
             485 (7th Cir. 2015) (citation omitted). The Watters are an Afri-
             can-American couple who own two lots in the Preserve at
             Bridgewater. When they bought their lots in June 2013 and
             when they moved in after building their home in December
             2015, they were the only black couple in the Preserve.
                 From the very beginning, the Watters had several run-ins
             with another married couple, Ed and Kate Mamaril. Kate was
             the president of the HOA when the Watters initially bought
             their property. She remained president until the summer of
             2015, when her husband took over the presidency. Ed holds
             this position to this day. Kate has had no other role in the
             HOA.
                Conflict with the Mamarils ignited as soon as the Watters
             began construction on their home: Ed told the Watters that
             they were not welcome, called them “assholes,” asked why
             “you people” moved here, told them he had them investi-
             gated, and suggested they live “somewhere else.”
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                 The Maramils’ cats also roamed the Watters’ property
             without limit. Even though the HOA had covenants prohibit-
             ing pets from roaming free—and there was an applicable city
             ordinance too—the HOA refused to intervene when the Wat-
             ters requested enforcement. The Watters suggest in their brief
             that the HOA enforced this covenant on behalf of a white
             homeowner, but they do not cite to any evidence in the record
             to support this. Moreover, Terence testified multiple times
             that he was not aware of any time the HOA enforced the pet
             covenant for anyone’s property. In any event, given the cat
             problem, the Watters contacted the Humane Society. The Hu-
             mane Society caught several cats on the Watters’ property and
             fined the Mamarils for allowing their cats to roam freely.
             When someone from the Humane Society was speaking with
             Tonca on her own property, Kate approached Tonca and
             called her a “black bitch” and a “black n-----.”
                 The final confrontation between the families occurred at
             the local Cracker Barrel, just outside of the Preserve’s bound-
             aries, in June 2017. When the Watters were at the restaurant
             with their daughter and two grandchildren, the Mamarils
             pushed them, and Kate referred to the grandchildren as “little
             monkey n------”. The Mamarils then sought a protective order
             against Tonca, which prevented her from attending HOA
             meetings, but the Mamarils later withdrew the underlying pe-
             tition.
                Beyond the Mamarils, the Watters had a series of conflicts
             with the HOA. Although new homeowners should ordinarily
             receive copies of the HOA’s restrictive covenants from their
             realtor or the seller, Kate, who was not on the HOA board at
             the time, offered to provide copies of the covenants to home-
             owners, neighbor-to-neighbor. But when the Watters asked
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             for copies of the HOA’s restrictive covenants, Ed as HOA
             president refused to provide copies, even after the Watters
             made requests through an attorney. The Watters also asked to
             move their mailbox to the same side of the street as their
             home, but Ed threatened litigation if they did. White families
             moved their mailboxes without authorization, but the post of-
             fice moved them back six months to a year later. The Watters
             were told to position their porch posts a certain way and were
             informed that they could not paint their house the same color
             as other nearby houses. 1 The record, however, does not reflect
             that white homeowners were allowed to position their porch
             posts or paint their houses however they pleased.
                 The Watters’ largest dispute with the HOA centered
             around a privacy fence. The HOA has a rule against privacy
             fences; only pool safety fences and decorative landscaping
             fences are allowed. The Watters allege that a white resident
             built a garden fence without permission. The Watters also
             suggest that the HOA granted an exception to another white
             resident to build a six-foot cedar fence to safeguard his dogs.
             The record reflects that this resident possibly built his fence
             before the HOA existed (though the record is unclear when
             the HOA was created), and later submitted a plan for ap-
             proval of the fence.


             1 The Watters make other allegations including that a neighbor parked his

             trailer in front of his own property in violation of the HOA’s covenants;
             when they emailed the HOA about a person urinating and defecating on
             their property, only one HOA member responded; and when they emailed
             the HOA about the indecent exposure and, separately, a burglary, the
             HOA did not send out a mass email even though it did send out mass
             emails about a lost puppy and a car break-in.
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                 The privacy fence issue arose because Terence is a veteran
             who was diagnosed with PTSD after being trapped in a cave,
             with a dog, behind enemy lines. Seeing dogs causes him emo-
             tional and physical distress. He is also unable to work and
             perform certain manual tasks because of a terminal lung con-
             dition. The lung condition further exacerbates his reactivity to
             dogs. Terence states that his doctors advised him to get a pri-
             vacy fence to mitigate his PTSD triggers.
                 Without mentioning his disability, Terence initially re-
             quested a six-foot tall vinyl privacy fence that obstructed the
             view of his backyard. The HOA denied the request. Terence
             then requested the privacy fence as a reasonable and neces-
             sary accommodation. Terence had previously told the HOA,
             Ed Mamaril, a committee of the HOA called the Architectural
             Control Committee (“ACC”), and two ACC members, Mike
             Ullery and Randy Lindgren, about his lung condition. In his
             accommodation request, however, he did not mention his
             lung condition or his PTSD; he stated only that the Fair Hous-
             ing Act prohibits disability discrimination. Terence says that
             he would have provided more information to the HOA about
             his disability, but they did not ask.
                 In response to Terence’s accommodation request, the
             HOA wrote: “The Fair Housing Act does not pertain to your
             request for a privacy fence due to disability.” The HOA re-
             jected the request and suggested alternatives, such as a
             wrought iron fence or landscaping to create a sense of pri-
             vacy. The HOA also stated that the Watters could submit an
             alternative style of fence for approval.
                For its part, the ACC stated that the Watters needed to
             build a pool to have a fence. The Watters submitted plans for
             a pool. The Watters assert in their brief that the ACC
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             approved the plans before construction began, but Terence
             could not recall in his deposition if the plans had been ap-
             proved. Ed and other members of the ACC testified that the
             plans were not approved before construction began. On the
             day of installation, the ACC members, including Ed, physi-
             cally prevented ground-breaking on the pool construction be-
             cause they claimed that the plans had not been approved. But
             they reviewed the plans onsite, approved them, and allowed
             construction to begin the same day.
                 The Watters sued the HOA and its members, including the
             Mamarils. The parties agreed to have a magistrate judge de-
             cide the case, and defendants moved for summary judgment.
             The magistrate judge granted summary judgment in favor of
             all defendants on all claims. The Watters appeal with respect
             to only the HOA and the Mamarils. 2
                                                 II
                 We review summary judgment decisions de novo and
             draw all reasonable factual inferences in the light most favor-
             able to the non-moving party. Riley v. City of Kokomo, 909 F.3d
             182, 187 (7th Cir. 2018) (citation omitted). A motion for sum-
             mary judgment is granted if the record shows there is “no
             genuine issue as to any material fact and that the moving
             party is entitled to judgment as a matter of law.” FED. R. CIV.
             P. 56(c). “The mere existence of some alleged factual dispute

             2 The magistrate judge determined that the Watters did not provide any
             argument or evidence for the claims against most of the individuals they
             sued, including Randy Lindgren, Cherilyn Shook, David Barber, and
             Chris Monroe. The Watters do not raise any issue with the judgment as to
             these individuals, nor do they contest the judgment as to Mike Ullery.
             Therefore, we affirm the judgment as to all claims against these five indi-
             viduals, which leaves only the HOA and the Mamarils.
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             … will not defeat an otherwise properly supported motion for
             summary judgment.” East-Miller v. Lake Cnty. Highway Dep’t,
             421 F.3d 558, 562 (7th Cir. 2005). On the other hand, “if ‘the
             evidence is such that a reasonable jury could return a verdict
             for the nonmoving party,’” that creates a genuine factual dis-
             pute. Alston v. City of Madison, 853 F.3d 901, 910–11 (7th Cir.
             2017) (citation omitted).
                 The Watters allege two claims of race discrimination
             against the HOA and the Mamarils—one under the Fair
             Housing Act, see 42 U.S.C. § 3617, and another under 42 U.S.C.
             § 1982, which guarantees equal property rights to all citizens.
             The Watters allege a third claim against only the HOA for fail-
             ure to accommodate Terence’s PTSD with a privacy fence; this
             claim arises under Fair Housing Act too. See 42 U.S.C.
             § 3604(f)(3)(B). We take each claim in turn.
                                                A
                 The Watters’ first claim against the HOA and the
             Mamarils is for race discrimination under the Fair Housing
             Act. 3 Two sections of the FHA are key to this claim. First,
             § 3604(a) explicitly prohibits making housing “unavailable”
             based on the potential renter or buyer’s race or color. 42 U.S.C.
             § 3604(a). Second, § 3617 prohibits coercion, intimidation,
             threats, or interference with “any person in the exercise or en-
             joyment of, or on account of his having exercised or enjoyed,
             or on account of his having aided or encouraged any other
             person in the exercise or enjoyment of, any right granted or
             protected by section [3604] of this title.” 42 U.S.C. § 3617. Both

             3 At oral argument, the Watters conceded that they did not plead a hostile
             housing environment claim under §§ 3604(b), 3617. See Wetzel v. Glen St.
             Andrew Living Cmty., LLC, 901 F.3d 856, 861–62 (7th Cir. 2018).
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              § 3604(a) and § 3617 reach post-acquisition conduct, not just
              the initial sale or rental of housing. Bloch v. Frischholz, 587 F.3d
              771, 782 (7th Cir. 2009) (en banc). The rights under § 3604(a)
              that § 3617 protects from interference include post-sale activ-
              ity “that makes a dwelling unavailable to the owner or tenant,
              somewhat like a constructive eviction.” Id. at 776. Such post-
              sale activity includes “attempted discriminatory evictions” by
              interfering with an individual’s § 3604(a) rights—even if the
              plaintiff does not actually vacate the premises. Id. at 782.
                  Plaintiffs need not invoke a specific right under § 3604 in
              order to bring a § 3617 claim. This is Bloch’s very holding. In
              holding that rights under § 3604(a) can cover post-acquisition
              conduct, the en banc court stated that § 3617 “reaches a
              broader range of post-acquisition conduct” than § 3604(a). Id.
              After all, if § 3617 were entirely circumscribed by § 3604(a),
              there would be little, if any, conduct that would not simulta-
              neously violate § 3617 and the underlying statute. Such a nar-
              row reading of § 3617 would render the statute useless. The
              en banc court in Bloch recognized this and therefore under-
              stood the statute to reach conduct outside the specific confines
              of § 3604(a). See id. At 781–82 (recognizing the Blochs had
              § 3617 claim even though they did not have a constructive
              eviction claim under § 3604(a) because “[t]o hold otherwise
              would make § 3617 entirely duplicative of the other FHA pro-
              visions.”).
                  A § 3617 discrimination claim is comprised of four ele-
              ments: “(1) [the plaintiff is] a protected individual under the
              FHA, (2) [they were] engaged in the exercise or enjoyment of
              [their] fair housing rights, (3) the defendants coerced, threat-
              ened, intimidated, or interfered with the plaintiff on account
              of [their] protected activity under the FHA, and (4) the
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              defendants were motivated by an intent to discriminate.” Id.
              at 783 (citations omitted). Everyone agrees that the Watters
              satisfy the first two elements: they are black and live in the
              home they own in the Preserve.
                  The parties slightly disagree about the fourth element, the
              scope of the intent to discriminate. The Watters point to three
              examples to show intentional discrimination: (1) Ed Mamaril
              asking the Watters why “you people” chose to move to the
              Preserve and stating that they should have moved some-
              where else; (2) Kate Mamaril calling Tonca a “black bitch” and
              a “black n-----” when the Humane Society picked up the
              Mamaril’s cats; and (3) Kate Mamaril calling the couple’s
              grandchildren “little monkey n------.” The HOA and the
              Mamarils do not dispute that Kate’s repeated, flagrant use of
              racial epithets establishes discriminatory intent. After all, ra-
              cial slurs are direct evidence of intentional discrimination. See
              East-Miller, 421 F.3d at 563 n.2. Instead, the HOA and the
              Mamarils argue that Ed’s “you people” comment only re-
              ferred to the Watters as a specific family and did not speak to
              their race. But the record does not indicate that Ed had any
              previous interactions with the Watters before they moved in.
              Rather, the record reflects that Ed saw the first black couple
              who chose to live in the Preserve and told them that “you peo-
              ple” should live somewhere else. 4 Moreover, based on his

              4 The dissent suggests that we cannot infer that Ed’s use of the phrase “you

              people” referred to the Watters’ race because there is no surrounding con-
              text that suggests his comment referenced the Watters’ race. Putting aside
              the fact that Kate’s repeated use of the N-word provides such additional
              context, the dissent ignores the fact that the phrase “you people” is well-
              recognized racial code in our society. See, e.g., Leora F. Eisenstadt, The N-
              Word at Work: Contextualizing Language in the Workplace, 33 Berkeley J.
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              wife’s blatant racist comments, a reasonable factfinder can in-
              fer in the light most favorable to the Watters—as we must do
              at the summary judgment stage—that Ed’s “you people”
              comment carried the stain of racial animus. 5 The Watters have
              supplied enough evidence to satisfy the fourth element at this
              stage of the case.
                  The core of the parties’ dispute however, is the third ele-
              ment: whether any of the Mamarils’ or the HOA’s conduct in-
              terfered with the Watters’ housing rights. After all, isolated
              acts of racial animus are not enough; there must be “‘some
              nexus’ between [a stray] remark and the challenged” action.


              Employment & Labor L. 299, 329–32 (2012) (discussing how courts some-
              times ignore the racist connotation of “you people”); cf. Aman v. Cort Fur-
              niture Rental Corp., 85 F.3d 1074, 1082 (3d Cir. 1996) (“Discrimination con-
              tinues to pollute the social and economic mainstream of American life, and
              is often simply masked in more subtle forms. It has become easier to coat
              various forms of discrimination with the appearance of propriety, or to
              ascribe some other less odious intention to what is in reality discrimina-
              tory behavior.”). We do not suggest that a single utterance of “you people”
              alone can support a claim of race discrimination, but we cannot be blind
              to the realities illustrated above when evaluating a litigant’s argument.
              5 From the Watters’ complaint through their briefing on appeal, they have

              argued that the Mamarils engaged in a coordinated pattern of harassment.
              As joint tortfeasors, we consider the Mamarils’ conduct as a whole.
              See Curtis v. Loether, 415 U.S. 189, 195 (1979) (“A damages action under [the
              FHA] sounds basically in tort—the statute merely defines a new legal
              duty, and authorizes the courts to compensate a plaintiff for the injury
              caused by the defendant’s wrongful breach. … [T]his cause of action is
              analogous to a number of tort actions recognized at common law.”); Re-
              statement (Second) of Torts, § 875 (“Each of two or more persons whose
              tortious conduct is a legal cause of a single and indivisible harm to the
              injured party is subject to liability to the injured party for the entire
              harm”).
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              See Scaife v. Cook Cnty., 446 F.3d 735, 741 (7th Cir. 2006), over-
              ruled on other grounds, Hill v. Tangherlini, 724 F.3d 965, 967 n.1
              (7th Cir. 2013) (describing same requirement under Title VII).
                  The HOA and the Mamarils first argue that the Watters
              cannot point to any specific right under § 3604(a) that was vi-
              olated by the Mamarils’ conduct. But, as explained earlier, a
              claim under § 3617 does not require a specific violation of a
              right under § 3604. Bloch, 587 F.3d at 782. Instead, § 3617 pro-
              hibits the coercion, intimidation, threats, or interference with
              those rights. See id. (holding that, under § 3617, “[c]oercion,
              intimidation, threats, or interference with or on account of a
              person’s exercise of his or her §§ 3603–3606 rights can be dis-
              tinct from outright violations of §§ 3603–3606.”). The
              Mamarils’ repeated use of racist language is the quintessential
              example of interference that establishes “a ‘pattern of harass-
              ment, invidiously motivated.’” Id. at 783. Such a pattern of ra-
              cially based harassment can function as an attempted con-
              structive eviction, even if the Watters remained at their prop-
              erty.6 See id. at 782 (“Though § 3604 [on its own] requires that
              the plaintiffs’ dwelling be made truly unavailable, or that de-
              fendants deprived plaintiffs of their privilege to inhabit their
              dwelling, the text of § 3617 is not so limited.”); id. (holding
              that § 3617 applies to “post-acquisition discrimination that

              6 The HOA and the Mamarils make the incredible claim that the Watters’
              FHA race discrimination claim should fail because “they continue to re-
              side in [t]he Preserve[] to this day.” The fact that the Watters chose to re-
              main on the property they purchased, in the home that they built, despite
              the Mamarils’ conduct cannot vitiate the Watters’ claim. In the HOA and
              the Mamarils’ view, the only way plaintiffs can succeed on a discrimina-
              tion claim under § 3617 is when the treatment is so bad that they are phys-
              ically dispossessed of their property and run out of town. Our case law
              logically does not condone such a rule. See Bloch, 587 F.3d at 781–82.
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              does not result in eviction” because such a construction is
              “consistent with Congress’s intent in enacting the FHA” and
              because the Housing and Urban Development regulations
              prohibit “interfering with persons in their enjoyment of a
              dwelling because of the race … of such persons”).
                  Stated otherwise, a reasonable factfinder could conclude
              that the Mamarils’ pattern of harassment interfered with the
              Watters’ post-acquisition enjoyment of their property, even if
              the Mamarils could not or did not actually force the Watters
              to leave. After all, the Mamarils’ harassment of the Watters
              went directly to the Watters’ choice to live at the Preserve: the
              Mamarils told them that “you people” should live elsewhere
              and the mere prospect of their moving into the subdivision
              warranted an investigation into their background. The har-
              assment reemerged when the Watters called the Humane So-
              ciety after the Mamarils’ cats repeatedly entered their prop-
              erty, in violation of the neighborhood covenants. Even when
              the Watters tried to enjoy a meal just outside their home with
              their family, the Mamarils continued their racialized harass-
              ment.
                  As support for their contrary position, the HOA and the
              Mamarils rely on Walton v. Claybridge Homeowners Association,
              Inc., an unpublished case that involved a single, indirect racist
              statement that the plaintiff merely overheard. 191 F. App’x
              446, 451 (7th Cir. 2006). The Mamarils, by contrast, made three
              blatant and racially hostile statements directly to the Watters.
              Thus, Walton not only carries no precedential weight but is
              also clearly distinguishable.
                 The HOA and the Mamarils next suggest that the incidents
              involving the Mamarils’ insults and epithets are simply per-
              sonal in nature and have no relationship to the Watters’
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              housing. They point out, for example, that Kate was not a
              member of the HOA board at the time she made her com-
              ments. And they note that Kate’s first use of the N-word was
              when Tonca called the Humane Society about the Mamarils’
              cats, which had nothing to do with the HOA. Lastly, they as-
              sert that the incident at Cracker Barrel did not occur in the
              neighborhood or at an HOA function.
                   The problem with this argument is that it ignores the for-
              est for the trees. While it is true that isolated incidents of racial
              slurs may not be enough on their own, this case involves the
              same defendant making two separate uses of one of the most
              horrendous slurs in our language, and her husband adding
              his own racially hostile innuendo. Add to this that the
              Mamarils are the president and former president of the HOA.
              These titles clothe the Mamarils with a certain power at the
              Preserve—even if one can debate the depth of that power. To
              be sure, a defendant’s title alone does not absolve plaintiffs
              from proving the elements of their claims. But as in Title VII
              cases where we consider a supervisor’s harassing conduct
              more serious than that of a co-worker, Gates v. Bd. of Educ., 916
              F.3d 631, 638 (7th Cir. 2019), it stands to reason that the be-
              havior of a defendant who exercises authority over a plain-
              tiff’s housing rights would also bear more consideration in a
              fair housing case. See Kyles v. J.K. Guardian Sec. Servs., Inc., 222
              F.3d 289, 295 (7th Cir. 2000) (citations omitted) (“Courts have
              recognized that [the FHA] is the functional equivalent of Title
              VII, and so the provisions of these two statutes are given like
              construction and application.”); DiCenso v. Cisneros, 96 F.3d
              1004, 1008 (7th Cir. 1996) (“[W]e recognize a hostile housing
              environment cause of action [under the FHA], and begin our
              analysis with the more familiar Title VII standard.”). A rea-
              sonable factfinder can infer that being treated with racial
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              disdain and hostility by the head of the HOA and his wife,
              who herself held the same position only recently, can directly
              affect how safe a family feels in their own home. More im-
              portantly, as discussed above, a reasonable factfinder can in-
              fer that the Mamarils’ repeated harassment undermined the
              Watters’ ability to enjoy the basic living conditions one ex-
              pects when they purchase a home. 7 See Bloch, 587 F.3d at 782.
                  To be sure, interference under § 3617 does not cover “a
              ‘quarrel among neighbors’ or an ‘isolated act of discrimina-
              tion,’ but rather [] a ‘pattern of harassment, invidiously moti-
              vated.’” Id. at 783 (citation omitted). But this is no simple
              quarrel among neighbors, and the Watters are not trying to
              use federal law to police general decorum in the neighbor-
              hood. The record shows that Kate and Ed Mamaril used racial
              slurs and epithets against the Watters ever since they first
              stepped foot in the Preserve. One cannot avoid liability by


              7 The dissent argues that there is a lack of a nexus between the Mamarils’
              conduct and the Watters’ rights under the FHA and points to a Sixth Cir-
              cuit case, Linkletter v. Western & Southern Financial Group, Inc., 851 F.3d 632
              (6th Cir. 2017). But Linkletter demonstrates that “the language of § 3617
              should be broadly interpreted and applied with the Fair Housing Act’s
              purpose in mind.” Id. at 637 (citations omitted). There, the Sixth Circuit
              held that a woman who was terminated from her job after signing a peti-
              tion supporting a women’s shelter that was engaged in a land dispute
              with her employer could pursue a § 3617 claim based on the theory that
              she “aided and encouraged” the housing rights of the shelter’s residents.
              Id. at 638–40. In fact, the dissent omits a key qualifier when quoting Lin-
              kletter that highlights the flexibility of causation in these claims: “Section
              3617 requires a nexus with the rights protected by §§ 3603-06, without re-
              quiring an actual violation of the underlying provisions.” Id. at 639 (emphasis
              added) (citation omitted); see also Bloch, 587 F.3d at 781–82 (although de-
              fendants did not violate § 3604(a), plaintiffs could still pursue claim under
              § 3617).
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              taking a film reel exhibiting harassment, slicing the reel into
              individual frames, and presenting them as mere isolated acts.
              The evidence here is enough that the Watters may present
              their claim against the Mamarils to a jury. See Alston, 853 F.3d
              at 910–11.
                  All that said, there is a key omission in the Watters’ evi-
              dence: The three incidents at issue involve the Mamarils only
              in their individual capacities. While they hold the title of pres-
              ident and former president of the HOA, the Watters do not
              provide any evidence that the Mamarils were acting on behalf
              of the HOA when they made any of the statements. As such,
              the Watters cannot provide any evidence of the HOA’s dis-
              criminatory intent or interference in their FHA rights. The
              Watters also attempt to point to certain circumstantial evi-
              dence or rely on the burden-shifting McDonnell Douglas test
              to establish a prima facie case of housing discrimination
              against the HOA, see McDonnell Douglas Corp. v. Green, 411
              U.S. 792 (1973), but to no avail. For example, the Watters al-
              lege that they were treated differently than their white coun-
              terparts with respect to the pet covenants, the pool construc-
              tion, the distribution of copies of the HOA restrictive cove-
              nants, the placement of the mailboxes, the paint color of their
              home, and the privacy fence. But the record is either silent or
              directly contradicts them on each of these issues. Therefore,
              the Watters can proceed with their race discrimination claim
              under the FHA against the Mamarils, but not against the
              HOA.
                                              B
                  The Watters also bring a claim under 42 U.S.C. § 1982 for
              race discrimination. Section 1982 provides that “[a]ll citizens
              of the United States shall have the same right, in every State
Case 1:18-cv-00270-MPB-JMS Document 70 Filed 10/04/22 Page 18 of 25 PageID #: 600
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              and Territory, as is enjoyed by white citizens thereof to in-
              herit, purchase, lease, sell, hold, and convey real and personal
              property.” 42 U.S.C. § 1982. A claim under § 1982 and the
              FHA both require proof of an intent to discriminate, so the
              two claims often rise and fall with each other. See Bloch, 587
              F.3d at 783. Here, because the Watters have sufficient evi-
              dence as to the Mamarils’ intent to discriminate based on race
              but not as to the HOA, they may only pursue a § 1982 claim
              against the Mamarils.
                                             C
                  Finally, the Watters allege that the HOA violated the FHA
              by failing to accommodate Terence’s PTSD in the denial of the
              Watters’ request for a privacy fence. To pursue a failure to ac-
              commodate claim under 42 U.S.C. § 3604(f)(3)(B), a plaintiff
              must plead elements that match those required under the
              Americans with Disabilities Act: (1) the plaintiff had a disa-
              bility; (2) the defendant was aware of disability; and (3) the
              defendant failed to reasonably accommodate the disability.
              Geraci v. Union Square Condo Ass’n, 891 F.3d 274, 277 n.1 (7th
              Cir. 2018) (citation omitted).
                  The Watters’ claim fails because they cannot satisfy the
              second element regarding the HOA’s knowledge. The parties
              agree that Terence told one HOA member about his lung con-
              dition, but the Watters do not provide any evidence that the
              HOA knew of his PTSD. In fact, Terence did not list his PTSD
              at all in his accommodation request. And it is his PTSD, not
              his lung condition, that the Watters say formed the basis for
              Terence’s accommodation request. Without any evidence
              showing that the HOA knew about Terence’s PTSD, the Wat-
              ters’ failure to accommodate claim cannot survive.
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                                          III
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              claims against the Mamarils under the FHA and § 1982 before
              a jury. They do not, however, provide any evidence directly
              linking the Mamarils’ actions to the HOA as a whole, nor do
              they provide any evidence to support their failure to accom-
              modate claim. We, therefore, AFFIRM the district court judg-
              ment as to the HOA and almost all of the individual defend-
              ants, but VACATE the judgment as to the Mamarils on the FHA
              and § 1982 claims, and REMAND for further proceedings con-
              sistent with this opinion.
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                  ST. EVE, Circuit Judge, dissenting in part. Tonca and Ter-
              ence Ĵȱwere unfairly ȱȱȱȱěȬ
              sive comments by two of their neighbors, Kathryn and Ed-
              ward Mamaril, on account of their race. But the ĴȂ two
              claims against the Mamarils, based on alleged violations of
              the Fair Housing Act and 42 U.S.C. § 1982, require a nexus be-
              tween discriminatory treatment and an adverse housing ac-
              tion. Because such a connection is lacking, I ȱ Ĝȱ
              across the board. Therefore, I respectfully dissent.
                 The facts here are fairly straightforward. The Preserve at
              Bridgewater is a housing development in Kokomo, Indiana.
              The Preserve is managed by the Homeowners Association,
                ȱȱȱȱȱĴee. Kathryn
              Mamaril, a resident of the Preserve, served as HOA president
              until the summer of 2015, when Edward Mamaril, her hus-
              band, took over the position.
                 On December 22, 2015, the Ĵǰȱ ȱ ȱ ȱ ȱ
              black, moved into a home on the Preserve where they still re-
              side. Soon after moving into their home, Edward Mamaril
              said he had investigated ȱĴȱ asked, “Why did you
              people move here? You could have moved somewhere else,”
              and told ȱ Ĵȱthey were unwelcome. Twice, Kathryn
              ȱ¢ȱȱȱȱȱȱĴǯȱ ȱ
              March 2016, after Tonca called the Humane Society to trap
              K¢Ȃ ȱȱȱĴȂȱ¢ǰȱ ¢ȱȱȱ
              a “black bitch” and a “black n-----,” asked, “why the F [had
              she] moved out [there],” and said Tonca “was trouble and
              making her life miserable.” In June 2017, Tonca and Kathryn
              got into an altercation at a nearby Cracker Barrel located out-
              side the Preserve when either Kathryn or her daughter
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              monkey n-----.” 1
                  ȱĴȱęȱȱȱȱ , the Mamarils, and
              various other community members, asserting three causes of
              action: race discrimination and failure to accommodate, both
              in violation of 42 U.S.C. § 3617; and interference with prop-
              erty rights, in violation of 42 U.S.C. § 1982. The district court
              granted ȱȂ motion for summary judgment on all
              counts. ȱ¢ȱȱĜȱȱ ȱȱ¢ȱ
              judgment for the claims against the HOA and all other resi-
              dents listed in the original suit, but it reverses with respect to
              the FHA and § 1982 claims against the Mamarils. In my opin-
              ion, the record is devoid of evidence necessary to create a tri-
              able issue of fact as to any cause of action. The district court
              properly awarded summary judgment to the Mamarils.
                  Section 3617 of the FHA prohibits coercion, threatening, or
              interference with the enjoyment of real property on the basis
              of race. 42 U.S.C. § 3617 (“It shall be unlawful to coerce, intim-
              idate, threaten, or interfere with any person in the exercise or
              enjoyment of … any right granted or protected by section
              3603, 3604, 3605, or 3606 of this title.”); see also 24 C.F.R.
              § 100.400(c)(2) (proscribing “[t]hreatening, intimidating or in-
              terfering with persons in their enjoyment of a dwelling be-
              cause of the race … of such persons”). 2 To maintain a § 3617

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              a “black n-----ȄȱȱȱȱȱȱȃĴȱ¢ȱn-----.” The Wat-
              ȱȱȱȱȱęȱȱĚȱȱȱ¢ȱdg-
              ment, so we presume the events unfolded as they describe. Ziccarelli v.
              Dart, 35 F.4th 1079, 1083 (7th Cir. 2022).
              2 Section 1982 also guarantees that “[a]ll citizens of the United States …
              the same right … as is enjoyed by white citizens thereof to inherit,
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              action, ě must demonstrate (1) they are protected in-
              dividuals under the FHA, (2) they were engaged in the exer-
              cise or enjoyment of their fair housing rights, (3) the defend-
              ants coerced, threatened, or interfered with the ě on
              account of their FHA-protected activity, and (4) the defend-
              ants were motivated by an intent to discriminate. Bloch v.
              Frischholz, 587 F.3d 771, 783 (7th Cir. 2009). The majority is un-
              ¢ȱȱȱȱĴȱȱęȱȱęȱ ȱ
              elements, but their claims falter on the third element—coer-
              cion, threatening, or intimidation with ȱěȂ housing
              rights on account of race. 3 It is hornbook law that even the
              worȱȱ ȱȂȱ requires some nexus
              to an adverse housing action; otherwise, the claim is not ac-
              tionable under the FHA. Halprin v. Prairie Single Fam. Homes
              of Dearborn Park Ass’n, 388 F.3d 327, 330 (7th Cir. 2004); see also
              Revock v. Cowpet Bay West Condominium Ass’n, 853 F.3d 96,
              112–13 (3d Cir. 2017) (“A Section 3617 interference claim re-
              quires … a causal connection existed between the exercise or
              enjoyment of the right and the defendantȂs conduct.”); Scaife
              v. Cook Cnty., 446 F.3d 735, 741 (7th Cir. 2006) (applying the
              nexus requirement in the Title VII context), overruled on other
              grounds, Hill v. Tangherlini, 724 F.3d 965, 967 n.1 (7th Cir. 2013).
              Congress never intended “to convert every quarrel among




              purchase, lease, sell, hold, and convey real … property.” 42 U.S.C. § 1982.
              I agree with the majority that “the two claims often rise and fall with each
              other,” as they do again here.
              3 The majority opinion states that the “parties slightly disagree about the
              fourth element, the scope of the intent to discriminate.” In my opinion, the
              parties strongly disagree about the fourth element as well—but I focus on
              the third element because it proves dispositive.
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              neighbors in which a racial or religious slur is hurled into a
              federal case.” Halprin, 388 F.3d at 330.
                  Kathryn Mamaril twice directed racial slurs toward Tonca
              ĴǰȱȱȱȱŘŖŗŜȱȱȱȱ ȱŘŖŗŝǯȱȱȬ
              guage is unquestionably odious in every respect, but the Wat-
              ters ěȱ ȱ ȱ ȱ ȱ these remarks to
              any protected use and enjoyment of their home or to any com-
              plained-of housing action. ȱĴȱǯȱȱǭȱȱ
              Financial Group, Inc., 851 F.3d 632, 639 (6th Cir. 2017) (“Section
              3617 requires a nexus with the rights protected by §§ 3603–06
              ….”). The Cracker Barrel incident took place outside the Pre-
              ǯȱ ¢ȱȂȱȱȱȱ ȱȱȬ
              ȱȱĴȱȱȱȱǰȱȱȱȱȱȱ
              in either the HOA or the ACC after the summer of 2015.
              Simply because Kathryn at one point occupied a position of
              authority within the HOA does not, without more, perpetu-
              ally imbue her actions or words with the weight of that stature
              once she stepped down from her position. 4 Moreover, the
              ¢ȱ ȱȱȱĴȱěȱȱ ¢ȱȱȱ
              epithets are separated by approximately fourteen months, a
              ęȱȱǯȱ ȱȱȱȱwith-
              out the requisite nexus cannot sustain ȱĴȂȱ. See
              Halprin, 388 F.3d at 330; Scaife, 446 F.3d at 741.
                 The comment from Edward Mamaril proves similarly un-
              helpful. Edward approached Terence soon after moving to the


              4 The majority takes the contrary view, opining that “[t]hese titles clothe
              the Mamarils with a certain power at the Preserve.” But this bold assertion
              lacks foundation in existing caselaw. Titles neither change the elements of
              ȱ  ȱ ȱ ȱ ȱ ȱ ěȱ ȱ ȱ ȱ ȱ Ȭ
              tween coercion and an adverse housing action.
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              did you people move here? You could have moved some-
              where else.” Investigating new neighbors is certainly odd, but
              not federally actionable absent a connection to any housing
              ǯȱȱĴȱ¢ȱǯȱInstead, they argue
               ȱȱę¢ȱȱȱȱȱȱe phrase
              “you people” such that it constituted a racial slur. 5 Again,
              however, ȱĴȱȱȱȱȱȱȱȱ¢ȱ
              adverse housing action. The Ĵȱand the majority Ĵȱ
              to connect EdwardȂȱȱȱȃ¢ȱȄȱ ȱ ¢Ȃȱȱ
              of “n-----.” But we have never acknowledged a spouse-impu-
              tation theory, nor can the majority furnish any legal support
              for this imaginative position—and for good reason. KathrynȂȱ
              ȱȱĴȱȱȱȱȱǲȱ ȱȱȱ
              infected by his wȂȱȱȱ¢ȱȱȱir marital
              bond.
                  ȱ¢ȱĴȱȱȱȱȱȱȱ
              ¢ȱȱȱȱȱĴ never raised below: that a
              ĴȱȱȱȃȱȱȱȱĴȱȬ
              tive eviction.ȄȱĴȱthe issue of waiver aside, the Ĵȱ
              ȱȱȱĜȱ to prevail on this the-
              ory. Although we have recognized an Ĵ constructive


              5 We have only found the phrase “you people” to refer to race when ac-
              companied by other racially charged language or acts. See, e.g., Brewer v.
              Bd. of Trs. of Univ. of Il, 479 F.3d 908, (7th Cir. 2007); Paz v. Wauconda
                ȱ ǭȱ ǯȱ ǯǰȱ , 464 F.3d 659, 662, 665–66 (7th Cir. 2006).
              Other circuits treat the phrase similarly. See, e.g., Anderson v. Wachovia
              Mortg. Corp., 621 F.3d 261, 269–70 (3d Cir. 2010); Umani v. Mich. Dep’t of
              Corr.ǰȱ ŚřŘȱ ǯȱ Ȃ¡ȱ Śśřǰȱ Śśşȱ ǻŜȱ ǯȱ ŘŖŗŗǼǯȱ ȱ ȱ ȱ  ȱ
              ǰȱȱĴȱěȱȱȱ¡ȱȱȱȱ
              interpretation.
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              eviction claim under § 3617, Bloch, 587 F.3d at 782–83, that
              does not mean the evidence supports such a claim, even when
               ȱȱȱȱȱȱȱȱĴǯȱIn Bloch, a
              condominium association selectively enforced a hallway rule
              against Jewish residents who wished to hang mezuzot on
              their exterior doorposts. This court held that the ěȱ
              could prevail ȱȱĴted constructive eviction theory if
              they could show that such interference was intentionally dis-
              criminatory. Id. at 783. Crucially, the Blochs had evidence of a
              nexus between discrimination and a housing action: physically
              removing mezuzot from their doorposts. By contrast, two of-
              fensive remarks by Kathryn Mamaril over a fourteen-month
              period do ȱȱȱĴȱȱ, es-
              pecially where one of the alleged remarks was not made on or
              near the property. See Halprin, 388 F.3d at 330 (Congress did
              not intend “to convert every quarrel among neighbors in
              which a racial or religious slur is hurled into a federal case”).
              To hold otherwise would collapse any distinction between a
              Ȃ ěȱ  and interference with housing
              rights.
                  The majority discounts the nexus requirement by accusing
              the Mamarils of “slicing” the facts and looking at them only
              in isolation. Viewed holistically, the majority can point to only
              two instances (over a year apart) where Kathryn used racial
              epithets, and EdwardȂȱ use of the phrase “you people.”
              Without any link to an adverse housing actionǰȱȱĴȂȱ
              claims fail. Therefore, in my opinion, the district court
              properly awarded summary judgment in favor of Mamarils. I
              respectfully dissent.
